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 1
 2                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
 3                                TYLER DIVISION

 4
     LONE STAR TECHNOLOGICAL                 Case No. 6:19-CV-00059-RWS
 5   INNOVATIONS, LLC,

 6                   Plaintiff,

 7         v.
 8   ASUSTeK COMPUTER INC.,
 9                   Defendant.
10
     LONE STAR TECHNOLOGICAL                 Case No. 6:19-CV-00060-RWS
11   INNOVATIONS, LLC,

12                   Plaintiff,
13         v.
14   Barco N.V.,
15                   Defendant.
16
17
18
19
20                   DECLARATION OF ROBERT STEVENSON, PH.D.
                            IN SUPPORT OF BARCO N.V.’s
21                        INITIAL CLAIM CONSTRUCTIONS
22
23
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25
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27                                                                              3
28
                                                            ASUS AND BARCO P.R. 4-2 DISCLOSURE
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          I, Robert Stevenson, declare as follows:

          1.      I have been retained by Complainant Barco N.V. (“Barco”) to provide expert opinion

   and testimony in connection with the above captioned Investigation. In particular, I have been

   asked by Barco to provide expert opinions with regard to the construction of certain claim terms of

   U.S. Patent Nos. 6,724,435 (“the ’435 patent). The expert opinions that I set forth in my declaration

   are based upon my knowledge in the field, the patents at issue in this Investigation, the file history

   of the patent at issue in this matter. I am being compensated at a rate of $600 per hour. My

   compensation is in no way dependent upon or contingent upon the opinions and testimony that I

   render during the course of this Investigation.

   I.     BACKGROUND AND QUALIFICATIONS

          2.      I have a Bachelor’s degree in Electrical Engineering from the University of

   Delaware and a Ph.D. degree in Electrical Engineering from Purdue University. My Ph.D. research

   was on communications and signal processing.

          3.      I am presently a Professor in the Department of Electrical Engineering at the

   University of Notre Dame. I first joined the faculty at the University of Notre Dame as an Assistant

   Professor in the Department of Electrical Engineering in 1990. I was granted tenure and promoted

   to the rank of Associate Professor in August 1996. I attained the rank of Professor in the

   Department of Electrical Engineering in August 2002, and I continue to serve in that capacity. I

   also served concurrently as a Professor in the Department of Computer Science and Engineering at

   the University of Notre Dame from January 2003 through June 2017.

          4.      Since 2013 I have served as an Associate Chair of the Department of Electrical

   Engineering. I also serve as the Director of Undergraduate Studies in Electrical Engineering. In this

   role I oversee the department’s undergraduate program in Electrical Engineering.


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          5.      I spent the summer of 1992 at the Air Force Research Lab in Rome, New York and I

   spent the summer of 1993 at the Intel® Corporation in Hillsboro, Oregon. Several leading

   computing companies, including Intel®, Sun Microsystems®, Apple® Computer, and Microsoft®,

   have supported my research at Notre Dame. During the past 30 years, I have published over 150

   technical papers related to the field of image processing and digital systems.

          6.      I am a member of the Institute of Electronics and Electrical Engineers, The

   International Society for Optical Engineering, and the Society for Imaging Science and Technology.

   I am a member of the academic honor societies Eta Kappa Nu, Tau Beta Pi, and Phi Kappa Phi.

          7.      For the past 30 years my work has focused on the design of techniques, hardware,

   and software for the processing of digital signals using digital computing devices. As an academic

   researcher I attempt to develop novel ideas for systems, then publish and present those ideas to the

   technical community. My success as an academic is directly related to the insights and techniques

   that provide the basis for new generations of products. My early work on digital techniques for

   printing and image capture devices led to significant interaction with companies developing desktop

   computers products in the early 1990’s as they tried to incorporate those ideas into their products.

          8.      My interaction with Apple’s Imaging Group focused on various imaging devices

   such as digital cameras, scanners, and printers and how to best support those devices on desktop

   computers. At Intel, I worked in Intel’s Architecture Lab at the time the MMX multimedia

   instructions were being incorporated into the Pentium processor. My work there dealt with

   developing video compression techniques for CD-ROMs and network communications that were

   well matched to the Pentium architecture. I also gave a series of talks on how advanced

   communication and video processing techniques could be better supported on the Pentium platform.

   Similarly, my interaction with Sun Microsystem’s group examined how advanced signal processing


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   techniques could be best implemented using Sun’s new Visual Instruction Set on the Sparc

   architecture.

          9.       I have also received significant support for my research from several U.S.

   Department of Defense agencies. The Air Force Research Laboratory has funded my work to

   develop advanced parallel processing algorithms that exploited an ad-hoc network of mixed

   computers to achieve signification computational advantages over their previously implemented

   techniques. Other Department of Defense agencies have supported my work in image and video

   enhancement.

          10.      I have taught classes at Notre Dame for 28 years. Over time I have taught courses in

   basic electronic circuit analysis and design, digital signal processing, image processing, computer

   vision, and random processes. Recently, I developed a new course at Notre Dame in multimedia

   signals and systems, which is the design of electronic circuits for the capture, processing and

   display of acoustic and imaging signals. In this course I cover many topics related to digital video

   systems including concepts of color, its modification and its characterization using attributes such

   as hue and saturation.

          11.      Additional information concerning my background, qualifications, publications,

   conferences, honors, and awards are described in my Curriculum Vitae, a copy of which is attached

   with this Report as Exhibit A.

          12.      A listing of previous cases in which I have provided expert testimony in the past four

   years can also be found in Exhibit B.

          13.      In forming my opinions described in this report, I considered and relied upon the

   ’435 patent and its corresponding prosecution file history, as well as the parties’ proposed

   constructions of terms relating to those patents.

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   II.    SUMMARY OF OPINIONS

   As set forth below, it is my opinion that the disputed terms have the following meanings

                     Claim Term                                              Construction
   “Characterizing”                                         Indefinite
   “Individual color”                                       “a linear combination of colors or color
                                                            components”
   “Input image pixel”                                      “image data including an integer row, an integer
                                                            column, and color component values for each of
                                                            red, green, and blue”
   “Forming a corresponding plurality of output             “Forming a plurality of output image pixels that
   image pixels having said selected individual             each correspond to one of the plurality of input
   color”                                                   image pixels that have said selected individual
                                                            color in the real time digital video input image
                                                            with the hue or the saturation selected to be
                                                            independently changed, the output image pixels
                                                            having said selected individual color”
   “By performing arithmetic and logical                    Indefinite as to whether this clause modifies
   operations”                                              “identifying”, “changed”, or both terms
   “Evaluating” and “Evaluated”                             Indefinite
   “Viewer”                                                 Indefinite – illustrates that method steps are
                                                            performed by a human as discussed below.
   All method steps, or the combination of method           Indefinite – A claim that “recites both a system
   steps and system elements in a single claim              and a method for using that system” is invalid as
   (claim 17):                                              indefinite. IPXL Holdings v. Amazon.com, 430
   operating said master control device . . .;              F.3d 1377, 1384 (Fed. Cir. 2005).
   selecting an independent color hue control delta
   value or an independent color saturation control
   delta value . . .;
   identifying a plurality of said input image pixels
   . . .;
   determining corresponding output image pixel
   values . . .;
   displaying a real time digital video output image
   ...



   III.   LEGAL STANDARDS

          14.     I am not an attorney, but I have been informed by counsel of the following standards.




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          A.      Claim Construction

          15.     I am informed by counsel that Claim construction begins with the words of the claim

   itself, which generally receive their ordinary and customary meaning as understood by a person of

   ordinary skill in the art at the time of the invention in the context of the specification and

   prosecution history. Phillips v. AWH Corp., 415 F.3d 1303, 1312-13 (Fed. Cir. 2005) (en banc).

   To ascertain the ordinary and customary meaning of the claims, courts consider the intrinsic record,

   including the claims, the specification, and the prosecution history. Id. at 1314. Claim terms “can

   be defined only in a way that comports with the instrument as a whole[]” and must be read “in the

   context of the entire patent[.]” Markman v. Westview Instruments, Inc., 517 U.S. 370, 389 (1996).

   It is the claims that delimit a patentee’s right to exclude, and therefore it is not proper to import

   imitations from the specification into the claims. Varco, L.P. v. Pason Sys. USA Corp., 436 F.3d

   1368, 1373 (Fed. Cir. 2006). The “scope of a claim term often covers more than the embodiments

   disclosed in the specification” and a patentee “need not describe in the specification every

   conceivable and possible future embodiment of his invention.” CCS Fitness, Inc. v. Brunswick

   Corp., 288 F.3d 1359, 1366 (Fed. Cir. 2002) (internal quotation marks and citation omitted). On the

   other hand, “a claim interpretation that excludes a preferred embodiment from the scope of the

   claim is rarely, if ever, correct.” On-Line Techs., Inc. v. Bodenseewerk Perkin-Elmer GmbH, 386

   F.3d 1133, 1138 (Fed. Cir. 2004).

          16.     I am informed by counsel that, in addition to the specification and claims, the court

   may also consider the prosecution history, which, “[l]ike the specification, . . . provides evidence of

   how the PTO and the inventor understood the patent.” Phillips, 415 F.3d at 1312 (citation omitted).

   In addition, “[a] court can look to the prosecution history of related patents for guidance in claim

   construction[.]” Aventis Pharms. Inc. v. Amino Chems. Ltd., 715 F.3d 1363, 1375 (Fed. Cir. 2013)

   (citation omitted).

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           17.     I am informed by counsel that courts may also consider extrinsic evidence, e.g.,

   inventor testimony, dictionaries, and treatises, when intrinsic record alone is insufficient to support

   proper constructions. Phillips, at 1317-18. Expert testimony is often helpful to illuminate complex

   technical issues and provide a foundation for the viewpoint of one of ordinary skill in the relevant

   art. Id. at 1318 (“We have also held that extrinsic evidence in the form of expert testimony can be

   useful to a court for a variety of purposes, such as to provide background on the technology at issue,

   to explain how an invention works, to ensure that the court’s understanding of the technical aspects

   of the patent is consistent with that of a person of skill in the art, or to establish that a particular

   term in the patent or the prior art has a particular meaning in the pertinent field.”). As the Federal

   Circuit explained, “[t]he construction that stays true to the claim language and most naturally aligns

   with the patent’s description of the invention will be, in the end, the correct construction.” Id. at

   1316 (internal quotation marks and citation omitted).

           B.      Claim Indefiniteness

           18.     Likewise, I am informed by counsel that a patent must “conclude with one or more

   claims particularly pointing out and distinctly claiming the subject matter which the applicant

   regards as [the] invention.” 35 U.S.C. § 112, ¶ 2 (2006). A claim fails to satisfy this statutory

   requirement only if its language, when read in light of the specification and the prosecution history,

   “fail[s] to inform, with reasonable certainty, those skilled in the art about the scope of the

   invention.” Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2124 (2014). This standard

   allows for some amount of uncertainty, as absolute precision in claim drafting is unattainable. Id. at

   2128-29. Instead, indefiniteness problems arise where the claim language “might mean several

   different things and ‘no informed and confident choice is available among the contending

   definitions’.” Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1371 (2014) (citing Nautilus,

   134 S. Ct. at 2130 & n. 8 (quoting Every Penny Counts, Inc. v. Wells Fargo Bank, N.A., 2014 U.S.

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   Dist. LEXIS 28106, 2014 WL 869092, at *4 (M.D. Fla. Mar. 5, 2014))). Claim drafting flaws, such

   as lack of antecedent basis, do not automatically render claims indefinite. See, e.g., Trover Grp.,

   Inc. v. Dedicated Micros USA, 2015 U.S. Dist. LEXIS 33876 at *28 (E.D. Tex. March 19, 2015)

   (citing Nautilus, 134 S. Ct. at 2124). A claim may be reasonably clear to a person of skill in the art

   even in the presence of drafting flaws. Id.

           19.     I am also informed by counsel that a patent claim directed to a system or apparatus

   must not include method steps, as this impermissibly combines statutory classes of claims. Thus, a

   single claim that “recites both a system and a method for using that system” is invalid as indefinite.

   IPXL Holdings v. Amazon.com, 430 F.3d 1377, 1384 (Fed. Cir. 2005).

   IV.     TECHNOLOGY OF THE ’435 PATENT

           20.     The patented technology of the ’435 patent generally relates to the control of an

   individual color. Specifically, the ‘435 patent purports to allow for the independent change of the

   hue or saturation of an individual color without affecting the hue or saturation of any other

   individual color.

   V.      LEVEL OF ORDINARY SKILL IN THE ART

           21.     In connection with evaluating the ’435 patent at issue in my report, I have formed an

   opinion as to the level of skill in the art. It is my opinion that one of ordinary skill in the art of

   digital video systems in the early 2000’s, were people with (i) at least a bachelor’s degree in

   electrical engineering, computer science, applied mathematics, or an equivalent field, as well as at

   least one or two years of industry experience in digital video system design, (ii) at least five years of

   comparable industry experience in digital video system design, or (iii) an equivalent combination of

   academic study and work experience.




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          22.     I have reached this opinion regarding the level of ordinary skill in the art based on

   my review of the asserted patents and my personal experience in educating, supervising, and

   working with persons having the level of ordinary skill in the art around the time of invention of the

   asserted patents.

   VI.    CLAIM CONSTRUCTION

          A.      “Characterizing”

          23.     The term “characterizing” is found in all asserted claims of the ‘435. In my opinion

   the term “characterizing” fails to inform a person of ordinary skill in the art with reasonable

   certainly about the scope of the claimed invention.

          24.     “Characterizing” is not a term with an ordinarily understood technical meaning in the

   field of digital video systems. As such, applicants of the ‘435 patent created this term to attempt to

   describe the alleged invention.

          25.     Additionally, the ‘435 Patent provides no guidance as to what is meant by

   “characterizing” as a step performed in a method. Parts of the specification discuss colors or color

   components as being “characterized by linear combinations of the basic colors red, green, and

   blue,” e.g. ’435 Patent at 6:44-46. However, this is not characterizing a real time digital input

   image. With regards to characterizing a real time digital input image, the specification states only

                  In Step (a) of the method of the present invention, there is receiving
                  and characterizing a real time digital video input image. Preferably,
                  there is receiving a real time digital video input image, I, featuring
                  colors or color components characterized by linear combinations of
                  the basic colors red, green, and blue, in RGB color space, whereby the
                  real time digital video input image, I, features basic colors red, green,
                  and blue, and, complementary colors yellow, cyan, and magenta, in
                  the RGB color space featuring a color based three-dimensional
                  coordinate system.

   ‘435 Patent at 6:40-50. As described in the specification, a digital input image is a collection of


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   colors or color components. Those colors or color components are characterized by linear

   combinations of basic colors. However, this says nothing as to how the digital input image itself is

   “characterized” or how one might perform the step of characterizing a digital video input image.

          26.     Thus, the scope of “characterizing” would be unclear to a person of ordinary skill in

   the art and in my opinion is indefinite.

          B.      “Individual color”

          27.     The term “individual color” appears in claim 1 and claim 17 of the ‘435 patent. In

   my opinion, the term should be construed as “a linear combination of colors or color components.”

   This term is expressly defined in the ‘435 patent, col. 1:20-21.

          C.      “Input image pixel”

          28.     The term “input image pixels” appears in claim 1 and claim 17 of the ‘435 patent. In

   my opinion, the term should be construed as “image data including an integer row, an integer

   column, and color component values for each of red, green, and blue”.

          29.     This is confirmed in the specification, which states that each of a plurality of input

   image pixels of the real time digital video input image, I, which can be plotted in an input grid of a

   real time digital video image display device, whose position coordinates in the input grid are

   indicated by row i, and column j, and that “for each input image pixel, I[i,j: Rin, Gin, Bin],

   individual basic colors or color components, red, green, and blue, have color or color component

   values represented by the terms Rin, Gin, and Bin, respectively.” ‘435 patent at 6:58-7:4.

          D.      “Forming a corresponding plurality of output image pixels having said selected
                  individual color”

          30.     The term “forming a corresponding plurality of output image pixels having said

   selected individual color” appears in claim 1 and claim 17 of the ‘435 patent. In my opinion, the

   term should be construed as “forming a plurality of output image pixels that each correspond to one
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   of the plurality of input image pixels that have said selected individual color in the real time digital

   video input image with the hue or the saturation selected to be independently changed, the output

   image pixels having said selected individual color”.

          31.     This construction is supported by the specification, which states that the

   corresponding plurality of output image pixels are formed “using the input image pixel values,” and

   using the corresponding selected independent color hue control delta value or the corresponding

   selected independent color saturation control delta value.” ‘435 patent at 11:14-30.

          E.      By performing arithmetic and logical operations

          32.     This term is found in all asserted claims of the ‘435 patent. In my opinion the term

   “by performing arithmetic and logical operations” fails to inform a person of ordinary skill in the art

   with reasonable certainly about the scope of the claimed invention.

          33.     This term is indefinite because it is unclear whether this clause modifies

   “identifying”, “changed”, or both terms. Specifically, the term appears at the end of a long phrase

   in claim 1 and claim 17: “identifying a plurality of said input image pixels having said selected

   individual color in the real time digital video input image with the hue or the saturation selected to

   be independently changed, by performing arithmetic and logical operations.”

          34.     From this language, it is unclear whether input image pixels are identified by

   performing arithmetic and logical operations, or if the identified pixels are changed by performing

   arithmetic and logical operations. It is also unclear whether the term applies to both identifying and

   changing pixels.

          35.     Thus, the precise meaning of “by performing arithmetic and logical operations”

   would be unclear to a person of ordinary skill in the art and in my opinion is indefinite.



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           F.      Evaluating and Evaluated

           36.     The terms “evaluating” and “evaluated” are found in all asserted claims of the ‘435

   patent. In my opinion the terms “evaluating” and “evaluated” fails to inform a person of ordinary

   skill in the art with reasonable certainly about the scope of the claimed invention.

           37.     “Evaluating” and “evaluated” are not terms with an ordinarily understood technical

   meaning in the field of digital video systems. As such, applicants of the ‘435 patent created this

   term to attempt to describe the alleged invention.

           38.     Additionally, the ‘435 patent provides no guidance as to what is meant by

   “evaluating” as a step performed in a method. The claims refer to “evaluating independent color

   hue control functions or independent color saturation control functions,” but the specification does

   not clarify or explain what this “evaluation” means or entails, although the word “evaluating” is

   repeated often in the specification. See, e.g. ’435 Patent at 3:32-40; 4:15-33. As an example of how

   unhelpful the specification is regarding this term, the term, as it is used in the claims, is repeated in

   the specification using the same exact language as in the claims, with no further explanation. 3:32-

   40: “by separately evaluating independent color hue control functions or independent color

   saturation functions . . .”

           39.     Thus, the scope of “evaluating” and “evaluated” would be unclear to a person of

   ordinary skill in the art and in my opinion is indefinite.

           G.      Viewer

           40.     The term “viewer” is found in claim 17 of the ‘435 patent. In my opinion the term

   “viewer” means a human, and as used in claim 17, it illustrates that the recited method steps, as

   discussed below, must actually be performed by someone, as claimed.




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          41.       This construction is supported by the specification, which states that “[a] user or

   viewer of a real time digital video image display device, such as a television screen, selects to

   independently change hue, H, or, selects to independently change saturation, S, of an individual

   color, clr, such as red, green, blue, yellow, cyan, or, magenta, in the real time digital video input

   image, I, displayed on the real time video image display device, by activating, such as by pushing or

   turning, an independent color hue control mechanism, or, an independent color saturation control

   mechanism, such as a button, dial, or graphic user interface (GUI) menu display, configured on a

   man-machine interaction (MMI) mechanism featured as part of a master control device, such as a

   built-in master color controller device, or, a wireless remote master color controller device, in

   operative electronic communication with the real time video image display device.”          ‘435 patent

   at 26:23-37; see also 2:31-39; 3:57-64; 4:63-5:12.

          H.        All method steps, or the combination of method steps and system elements in a
                    single claim:
                            operating said master control device . . .;
                            selecting an independent color hue control delta value or an independent
                            color saturation control delta value . . .;
                            identifying a plurality of said input image pixels . . .;
                            determining corresponding output image pixel values . . .;
                            displaying a real time digital video output image . . .

          42.       The terms above appear in claim 17 and thus apply to claim 17 and all its dependent

   claims, 18-32.

          43.       The noted combination of terms renders the claims indefinite – A claim that “recites

   both a system and a method for using that system” is invalid as indefinite. IPXL, 430 F.3d at 1384.

          44.       A person of ordinary skill in the art would understand the active “…ing” terms above

   to require actual performance of method steps, such as operating, selecting, identifying,

   determining, and displaying, rather than merely describing capabilities of the system components or

   elements.

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           I swear under penalty of perjury under the Laws of the United States that the foregoing is

   true and correct to the best of my knowledge.




          March 16, 2020                                       Respectfully Submitted,




                                                               Robert Stevenson




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      Curriculum Vitae


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                      Corporate Technology Center
                      Sperry Corporation, Reston, Virginia

      Education
      08/1986–08/1990 Ph.D., Electrical Engineering, August 1990
                      Purdue University, West Lafayette, Indiana
                        Thesis: Invariant Reconstruction of Curves and Sur-
                            faces with Discontinuities with Applications in Com-
                            puter Vision
                        Advisor: Professor Edward J. Delp
                        GPA: 6.0/6.0
      09/1982–06/1986 B.S.E.E., Electrical Engineering, June 1986
                      University of Delaware, Newark, Delaware
                        Thesis: On the Theoretical Properties of Morphological
                            Filters
                        Advisor: Professor Gonzalo R. Arce
                        GPA: 4.0/4.0

      Honors and Awards
      1983         University of Delaware, Tau Beta Pi Prize
      1984         University of Delaware, Engineering Scholar
      1985–1986    University of Delaware, Liston A. Houston Scholarship
      1986         IEEE Delaware Bay Section Engineering Award

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      1986           Valedictorian, University of Delaware
      1986           Purdue University Graduate Instructor Fellowship
      1986           Phi Kappa Phi Graduate Fellowship
      1986–1990      DuPont Graduate Fellowship in Electrical Engineering
      1986–1989      National Science Foundation Graduate Fellowhip
      1993           Dept. of Electrical Engineering Outstanding Teacher Award
      2012           ICIP 2012 Outstanding Reviewer
      2013           IS&T 2013 Service Award

      Honor Societies
      1985–Present        Eta Kappa Nu, Electrical Engineering Honor Society
      1985–Present        Tau Beta Pi, Engineering Honor Society
      1985–Present        Phi Kappa Phi, Academic Honor Society

      Professional Activities
         Associate Editor
             IEEE Trans. on Image Processing, 1999–2003
             IEEE Trans. on Circuits and Systems for Video Tech., 1997–2002
             Journal of Electronic Imaging, 1995–1998
         Special Issue Editor
              Multimedia Systems, Journal of Electronic Imaging, 04/1996
              Still Image Compression, Electronic Imaging Newsletter, 01/1996
         Best Paper Award Board Membership
              IEEE Trans. on Circuits and Systems for Video Technology, 2002
         Symposium Chairman
             SPIE/IS&T Symposium on Electronic Imaging, 02/2004
         Conference Chairman
             IS&T Conf. Computational Imaging XIX, 01/2021
             IS&T Conf. Computational Imaging XVIII, 01/2020
             IS&T Conf. Computational Imaging XVII, 01/2019
             IS&T Conf. Computational Imaging XVI, 02/2018
             IS&T Conf. Computational Imaging XV, 02/2017
             IS&T Conf. on Visual Information Proc. & Comm. VIII, 02/2017
             IS&T Conf. on Visual Information Proc. & Comm. VII, 02/2016

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             SPIE/IS&T Conf. on Visual Information Proc. & Comm. VI, 02/2015
             SPIE/IS&T Conf. on Visual Information Proc. & Comm. V, 02/2014
             SPIE/IS&T Conf. on Visual Information Proc. & Comm. IV, 02/2013
             SPIE/IS&T Conf. on Visual Information Proc. & Comm. III, 01/2012
             SPIE/IS&T Conf. on Visual Information Proc. & Comm. II, 01/2011
             SPIE/IS&T Conf. on Visual Comm. and Image Processing, 01/2009
             SPIE/IS&T Conf. on Computational Imaging, 02/2003
             SPIE/IS&T Conf. on Image and Video Comm. and Proc., 02/2000
             SPIE/IS&T Conf. on Visual Comm. and Image Processing, 02/1999
             41st Midwest Symposium on Circuits and Systems, 08/1998
             SPIE Conf. on Electronic Imaging and Signal Processing, 11/1996
             SPIE/IS&T Conf. on Still Image Compression II, 02/1996
             SPIE/IS&T Conf. on Image and Video Processing IV, 02/1996
             SPIE/IS&T Conf. on Image and Video Processing III, 02/1995
             SPIE/IS&T Conf. on Image and Video Processing II, 02/1994
         Steering Committee Member
              Visual Communications and Image Processing, 1998–2010
              Midwest Symposium on Circuits and Systems, 1994–1999
              Electronic Imaging, 2003–2005
         Organizing Committee Member
             Nonlinear Signal and Image Processing Workshop, 2001
         Technical Program Committee
             International Conference on Image Processing, 1998 – Present
             SPIE Computational Imaging, 2003–2016
             Visual Communications and Image Processing, 1997–2008
             European Signal Processing Conference, 2015
             IEEE Symposium on Industrial Electronics & Applications, 2012
             International Conference on Multimedia & Expo, 2009–2010
             Image and Video Communications and Processing III, 2005
             Computational Imaging, 2004
             International Conference on Pattern Recognition, 2000
             Int. Conf. on Acoustics, Speech, & Signal Proc., 2000, 2006–Present
             International Symposium on Circuits and Systems, 1998, 2005
             9th IEEE Image and Multi. Signal Processing Workshop, 1996
             Midwest Symposium on Circuits and Systems, 1994
         Member
            Institute of Electrical and Electronics Engineers, IEEE
            Society of Photographic Instrumentation Engineers, SPIE
            The Society for Imaging Science and Technology, IS&T

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         Panel Member for the following funding agencies
             National Science Foundation
         Reviewer for the following funding agencies
              National Science Foundation
              U.S. Army Research Office
              Israel Science Foundation
              Hong Kong Research Grants Council
              Kentucky EPSCoR Program
              North Dakota EPSCoR Program
              Louisiana Board of Regents
         Reviewer for the following archival journals
              IEEE Transactions on Signal Processing
              IEEE Transactions on Image Processing
              IEEE Transactions on Circuits and Systems
              IEEE Transactions on Circuits and Systems for Video Technology
              IEEE Transactions on Instrumentation and Measurement
              IEEE Transactions on Medical Imaging
              IEEE Transactions on Pattern Analysis and Machine Intelligence
              IEEE Transactions on Systems, Man, and Cybernetics
              IEEE Transactions on Neural Networks
              Pattern Recognition Letters
              Signal Processing Letters
              Computer Vision, Graphics, and Image Processing
              Journal of the Optical Society of America
              Journal of Mathematical Imaging and Vision
              Applied Optics
              IET Image Processing
         Reviewer for the following textbook companies
              Van Nostrand Reinhold, Electrical Engineering Division
              McGraw-Hill, College/Schaum Division
              MacMillan Publishing Company
              Prentice Hall

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         West Lafayette, IN, Nov. 12, 1998.
         “High Performance Multimedia Applications Reserach,” Sun Microsys-
         tems, Sunnyvale, CA, Jan. 25, 1999.
         “Video over the Internet,” D. E. Shaw & Co., New York, NY, May 4,
         2000.
         “Entertainment Video over the Internet,” Sun Microsystems, Sunnyvale,
         CA, Nov. 16, 2000.
         “The Creative Scientist,” Keynote address at 16th Annual Undergraduate
         Research Symposium, University of Delaware, Newark, DE, May 5, 2001.
         “Super-Resolution Camera Systems,” Thomson Consumer Electronics,
         Indianapolis, IN, November 28, 2001.
         “Three-Dimensional Signal Processing,” Air Force Research Laboratory,
         Rome, New York, September 26, 2002.
         “Bayesian Image and Video Restoration,” ECE Distinguished Speaker
         Seminar Series at the Illinois Institute of Technology, October 24, 2003.
         “Error Resilient Video Coding,” Purdue University, West Lafayette, IN,
         May 17, 2005.
         “Robust Video Compression Using Multiple Description Coding,” Indiana
         University-Purdue University Indianapolis, Indianapolis, IN, November 2,
         2006.
         “Bayesian-Based Image and Video Enhancement,” Digimarc Corporation,
         Beaverton, OR, July 27, 2011.

      Dissertations/Theses Supervised
         Ph.D. Dissertations

           R. R. Schultz, “Multichannel Stochastic Image Models: Theory, Appli-
           cations, and Implementations,” Ph.D. Dissertation, University of Notre
           Dame, November 1994.

           T. P. O’Rourke, “Robust Image Communication: An Improved De-
           sign,” Ph.D. Dissertation, University of Notre Dame, January 1996.

           B. E. Schmitz, “Enhancement of Sub-Sampled Color Image Data,”
           Ph.D. Dissertation, University of Notre Dame, March 1996.

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           R. Llados-Bernaus, “Entropy Coding Techniques for Robust Video
           Compression,” Ph.D. Dissertation, University of Notre Dame, March
           1998.

           M. A. Robertson, “High-Quality Reconstruction of Digital Image and
           Video from Imperfect Observations,” Ph.D. Dissertation, University of
           Notre Dame, April 2001.

           R. Magill, “Emulating an Output Queued Packet Switch with Systems
           Containing Input and Output Queueing,” Ph.D. Dissertation, Univer-
           sity of Notre Dame, May 2003.

           K. Erickson, “Quality Optimization of Standards - Compliant Encoded
           Video,” Ph.D. Dissertation, University of Notre Dame, May 2003.

           S. Borman, “Topics in Multiframe Superresolution Restoration,” Ph.D.
           Dissertation, University of Notre Dame, May 2004.

           G. Zhang, “Robust Scalable Video Compression Using Multiple De-
           scription Coding,” Ph.D. Dissertation, University of Notre Dame, May
           2007.

           J. Gai, “Robust Target Tracking: Theory, Applications and Implemen-
           tations,” Ph.D. Dissertation, University of Notre Dame, May 2010.

           Y. Li, “Multimodal Image Registration Through Iteratively Searching
           Correspondences of Keypoints and Line Segments,” Ph.D. Dissertation,
           University of Notre Dame, December 2012.

           J. Simpkins, “Modeling, Approximation, and Estimation of Spatially-
           Varying Blur in Photographic Systems,” Ph.D. Dissertation, University
           of Notre Dame, May 2016.

           L. Hollmann, “Modeling, Approximation, and Estimation of Spatially-
           Varying Blur in Photographic Systems,” Ph.D. Dissertation, University
           of Notre Dame, November 2016.

           R. Zhen, “Aided Blind Deblurring Image Degraded by Motion Blur,”
           Ph.D. Dissertation, University of Notre Dame, February 2017.

         M.S.E.E. Theses



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           R. R. Schultz, “Improved Definition Image Expansion,” M.S.E.E. The-
           sis, University of Notre Dame, January 1992.

           T. P. O’Rourke, “Human Visual Based Wavelet Decomposition for Im-
           age Compression,” M.S.E.E. Thesis, University of Notre Dame, Decem-
           ber 1992.

           B. E. Schmitz, “Curve Reconstruction: A Balance Between Smoothness
           and Discontinuity Preservation,” M.S.E.E. Thesis, University of Notre
           Dame, February 1993.

           H. M. Zayed, “A Tunable Analog VLSI Network for Preserving Dis-
           continuities in One-Dimensional Signals,” M.S.E.E Thesis, University
           of Notre Dame, November 1993 (co-adviser: G. Bernstein).

           M. J. Wahoske, “Dual-Receiver Blind Identification for Image Blurs,”
           M.S.E.E Thesis, University of Notre Dame, August 1996 (co-adviser:
           R. Liu).

           M. Robertson, “Computationally Efficient Post-Processing of Com-
           pressed Video Streams,” M.S.E.E Thesis, University of Notre Dame,
           February 1998.

           G. Zhang, “Modified Fixed-Length Entropy Coding for Robust Video
           Compression,” M.S.E.E Thesis, University of Notre Dame, December
           2002.

           J. D. Simpkins, “Modeling and Estimation of Spatially-Varying Point-
           Spread Functions Due to Lens Aberrations and Defocus,” M.S.E.E.
           Thesis, University of Notre Dame, December 2011.

           R. Zhen, “Enhanced Raw Image Capture and Deblurring,” M.S.E.E.
           Thesis, University of Notre Dame, May 2013.

         Current Research Students

           Shuang Zhang
           Jieyu Li
           Mohammad Rasool Izadi




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      Research Funding
         Current Funding

           Principal Investigator, EE Chair Fund, $575,000 for “Video Enhance-
           ment Research.”

         Prior Funding

           Principal Investigator, Jesse H. Jones Faculty Research Fund, Univer-
           sity of Notre Dame, $9,750 for “Reliable Surface Parameter Estimation
           in Three–Dimensional Vision,” (with P. Flynn).

           Principal Investigator, Jesse H. Jones Faculty Research Equipment
           Fund, University of Notre Dame, $7,675 for “Hardware for the Ac-
           quisition and Display of Real–Time Video Signals,” (with K. Sauer).

           Co-Principal Investigator, Rome Laboratory, F30602-92-C-0138, $85,000
           for “Multi-Frame Integration,” (with Y. Huang and R. Liu).

           Co-Principal Investigator, National Science Foundation, CDA92-22905,
           $58,126 for a “High Resolution Video Processing System,” (with D.
           Costello, K. Sauer, P. Bauer, Y. Huang and R. Liu).

           Principal Investigator, Indiana Space Grant Consortium, $7,300 for
           “Real–Time Vision for Teleoperated Control of Unmanned Vehicles and
           Robots,” $7,500 for “Robust Video Coding,” $5,889 for “Robust Video
           Coding,”

           Principal Investigator, Apple Computer, Inc., $15,000 for “Color Palette
           Restoration,” $16,467 equipment donation.

           Co-Principal Investigator, Office of University Computing, University
           of Notre Dame, $20,000 for “Computing for System Engineering,” (with
           D. Costello and A. Lumsdaine).

           Co-Principal Investigator, National Aeronautics and Space Adminis-
           tration, NASA-NAG 3-1549, $50,795 for “Integrated System Design for
           the Transmission of Image Data over Low Bit Rate Noisy Channels,”
           (with D. Costello and Y. Huang).

           Principal Investigator, Rome Laboratory, F30602-94-1-0017, $35,408
           for “Multi-Frame Integration for the Extraction of High Resolution

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           Still Images from Video Sequences.”

           Principal Investigator, Rome Laboratory, F30602-94-1-0016, $50,785
           for “Parallel and Distributed Algorithms for High-Speed Image Pro-
           cessing,” (with A. Lumsdaine).

           Principal Investigator, Intel Corp., $68,000 for “Post-Processing Com-
           pressed Video Data,” $15,000 equipment donation.

           Co-Principal Investigator, Lockheed Martin, $150,000 for “Robust
           Transmission of Images over Noisy Channels,” (with D. Costello and
           Y. Huang).

           Principal Investigator, Apple Computer, Inc., $19,100 for “Quicktake
           Image Enhancement,” $15,000 equipment donation.

           Co-Principal Investigator, Office of University Computing, University
           of Notre Dame, $21,600 for “Multidisciplinary Engineering Design Lab-
           oratory,” (with J. Brockman, J. Kantor, J. Renaud, D. Kirkner, S.
           Batill, and P. Kogge).

           Principal Investigator, Motorola Corp., $91,252 for “Robust Trans-
           mission of Image Data over Low-Bit-Rate Noisy Channels,” (with D.
           Costello, R. Liu and Y. Huang).

           Principal Investigator, Rome Laboratory, F30602-96-C-0235, $199,964
           for “Parallel and Distributed Algorithms for High-Speed Image Pro-
           cessing,” (with A. Lumsdaine).

           Co-Principal Investigator, Office of University Computing, University
           of Notre Dame, $23,000 for “An ATM Network for High-Speed Com-
           munications,” (with A. Lumsdaine).

           Principal Investigator, Sun Microsystems, $21,400 for “VIS-Based Im-
           age Enhancement.”

           Co-Principal Investigator, IBM, $309,544 for “Scalable Shared Mem-
           ory: Case Studies,” (with A. Lumsdaine, N. Chrisochoides, J. West-
           erink, E. Maginn, M. Stadtherr).

           Co-Principal Investigator, Army Research Office, DAAG55-98-1-0091,
           $250,000 for “Scalable Meta-Computing for Computational Science and
           Engineering,” with A. Lumsdaine, N. Chrisochoides, J. Westerink, E.

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           Maginn, M. Stadtherr).

           Principal Investigator, Graduate School, University of Notre Dame,
           $71,980 for “High-Resolution Video Processing,”.

           Principal Investigator, Department of Defense, MDA904-98-C-B224,
           $124,150 for “Temporal Image Enhancement,” (with A. Lumsdaine).

           Co-Principal Investigator, Graduate School, University of Notre Dame,
           $215,000 for “Scalable Meta-Computing for High Performance Compu-
           tational Science and Engineering,” (with A. Lumsdaine, N. Chriso-
           choides, J. Westerink, E. Maginn, M. Stadtherr).

           Principal Investigator, Sun Microsystems, $55,060 for “Multimedia Ar-
           chitectures.”

           Principal Investigator, Graduate School, University of Notre Dame,
           $75,000 for “Sun Microsystems Embedded Center.”

           Co-Principal Investigator, Indiana’s 21st Century Research & Technol-
           ogy Fund, $829,714 for “Entertainment Video over the Internet,” (with
           E. Delp, B. Beyers, C. Rosenberg, P. Salama, and N. Shroff).

           Principal Investigator, Sun Microsystems, $40,000 for “Entertainment
           Video.”

           Co-Principal Investigator, National Science Foundation, $248,887 for
           “Instrumentation for Multidimensional Imaging and Applications”, (P.
           Flynn, K. Bowyer, and D.Z. Chen).

           Principal Investigator, Department of the Air Force, $75,000 for “Multi-
           Source Image Correlation and Analysis,” (with P. Flynn, and K.
           Bowyer).

           Co-Principal Investigator, Indiana’s 21st Century Research & Technol-
           ogy Fund, $856,576 for “Advanced Digital Video Compression: New
           Techniques for Security Applications,” (with E. Delp, L. Chrisopher,
           B. Brenner, C. Armstrong, and P. Salama).

           Principal Investigator, Office of Naval Research, $39,461 for “Biologi-
           cally Inspired Approaches to Overcome Mutual-Interference by Active
           Sensor Systems.”


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           Principal Investigator, Office of Naval Research, $54,073 for “Signal
           Processing Methods to Isolate Individual Bat FM calls from within the
           noise of a swarm.”

      Teaching and Course Development
      EE220             Devices and Systems in Electrical Engineering
                        Developed: Fall 1998
                        Taught: Fall 1998, 1999, 2000
      EE224/EE20224     Introduction to Electrical Engineering
                        Taught: Fall 1990, 1992, 1995, 1999, 2000, 2006, 2007,
                        2008
      EE242/EE20242     Electronic Circuits
                        Taught: Spring 2001, 2002, 2003, 2004, 2005
      EE30363           Random Phenomena in Electrical Engineering
                        Taught: Spring 2010, 2011, 2012, 2013
      EE30321           Embedded Systems
                        Developed: Spring 2016
                        Taught: Spring 2016, 2017, 2018, 2019, 2020
      EE40354           Multimedia Signals and Systems
                        Developed: Fall 2012
                        Taught: Fall 2012, 2016, 2017, 2018, 2019; Spring 2014
      EE471/EE40471     Digital Signal Processing
                        Taught: Spring 1992, 1993, 1995, 1996, 2000, 2008
      EG498             Multidisciplinary Engineering Design Laboratory
                        Developed: Fall 1995
                        Taught: Fall 1995
      EE498             Topics in Image Processing
                        Taught: Fall 1994
      EE573/EE60573     Random Processing, Estimation and Detection Theory
                        Taught: Spring 2007, 2009
      EE581/EE60581     Digital Image Processing
                        Taught: Spring 1991, 1994, 1999, 2006, 2015; Fall 1997,
                        2001, 2003, 2010
      EE598/EE60671     Advanced Digital Signal Processing
                        Developed: Fall 2004

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                        Taught: Fall 2004, 2005, 2011, 2013, 2014
      EE598             Computer Vision
                        Developed: Fall 1991
                        Taught: Fall 1991, 1993
      EE663/EE80663     Advanced Stochastic Processes
                        Developed: Spring 1998
                        Taught: Spring 1998, Fall 2002, 2009
      ELEG631           Applications of Digital Signal Processing
                        Developed: Fall 1996
                        Taught: Fall 1996, University of Delaware
      CSE498P           Digital Multimedia Hub System Design
                        Developed: Spring 2003
                        Taught: Spring 2003

      University Services
         University
          Chair, Science and Technology Subcommittee of the Core Curriculum
               Committee
               2018–Present
          Core Curriculum Committee
               2018–Present
          Club Supervisor, Notre Dame Machine Learning Club
               2018–Present
          Committee on Advising
               2018–2019
          Club Supervisor, Rubik’s Cube Club of Notre Dame
               2011–2015
          University Committee on Research and Sponsored Programs
               2006–2010
          Intellectual Property Committee
               2003–2006
          ND’s Technical Liaison to the Indiana Governor for Sun Microsystems
               2000–2001
          Committee on Technical Computing
               1995–1996
          University Committee on Computer and Information Sciences
               1995–1996, 2002–2003
          University Committee on Academic Technology


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               2003–2006
           Faculty Senate
               1993–1996
           Freshman Orientation
               1993–1995, 1998–2007
         Engineering College
          Ad-hoc Committee on First Year Engineering
               2018–2019
          Four Horsemen Venture Capital Fund Advisory Committee
               2003–2004
          CSE Chairman Search Committee
               1999–2001
          College Council
               1997–2000
          Undergraduate Studies Committee
               1994–1996, 1998–1999, 2013–Present
          College Computer Committee
               1995–1996, 1997–2013
          Ad hoc College Computer Committee
               2001–2002, 2007
          Friends of the MEP mentoring initiative
               1992
         Electrical Engineering Department
           Ad-hoc Committee on the Curriculum
               2017–Present
           Director of Undergraduate Studies
               2014–Present
           ABET Coordinator
               2016–2017
           Committee on Appointments and Promotions
               2007–2009, 2017–Present
           Area Committee Chairman
               2002–2013
           Graduate Committee
               1991–1994, 2003–2005, 2006–2008, 2010–2012
           Undergraduate Committee
               1994–1996, 1998–2000, 2001–2003, 2005–2007, 2011–Present
           Undergraduate Coordinator
               1994–1996, 1998–1999
           Undergraduate Mentor

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                2006–2014
           Qualifying Exam Coordinator
                1991–1993
           Computer Committee, Chair
                1994–1996, 1997–2013
           Electrical Engineering Commencement Coordinator
                2002
           Graduate Admissions Committee
                1997–1998, 2008, 2013
           Facilities Committee
                1997-1998
           Honesty Committee
                1993–1994
           Eta Kappa Nu Faculty Advisor
                1991–1996



         February 3, 2020




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                           EXHIBIT B
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       Robert Louis Stevenson
       Litigation Experience


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                         Buchanan, MI 49107
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                         EMail: rlstevenson@me.com

       Summary of Expert Testimony (20+ years)

         Deposition Testimony: 63
         Jury Trial Testimony: 12
         Bench Trial Testimony: 2
         ITC Hearing Testimony: 13
         Markman Hearing Testimony: 8


       Expert Testimony (last 5 years)

         Expert witness for Canon Inc. in “Canon Inc v. Intellectual Ventures II
         LLC.” Cases IPR2014-00631 and IPR2014-00632 before the Patent Trial
         and Appeal Board (deposition testimony).

         Expert witness for Canon Inc. in “Intellectual Ventures II LLC. v. Canon
         Inc.” Case 13-CV-473 (SLR) for the District of Delaware (deposition tes-
         timony).

         Expert witness for CTP Innovations, LLC in “Eastman Kodak Company,
         et al. v. CTP Innovations, LLC.” Case IPR2014-00790 before the Patent
         Trial and Appeal Board (deposition testimony).

         Expert witness for Google, Inc. in “Videoshare, LLC. v. Google, Inc.
         et al.” Civil Action No. 13-cv-990 (GMS) in the District of Delaware
         (deposition testimony).

         Expert witness for Canon, Inc., in “Technology Properties Limited, LLC


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         et al. v. Canon, Inc. et al,” Case No. 4:14-cv-03640-CW in the Northern
         District of California, Oakland Division (deposition testimony).

         Expert witness for Advanced Silicon Technologies, LLC., in “Certain Com-
         puting or Graphics Systems, Components Thereof, and Vehicles containing
         samel,” ITC Investigation No. 337-TA-984 (deposition testimony).

         Expert witness for Alcate-Lucent USA, Inc., in “Intellectual Ventures, et
         al. v. Toshiba Corporation, et al,” Case No. 1:14-cv-0764-WTL-TAB in
         the Southern District of Indiana Indianapolis Division (deposition testi-
         mony).

         Expert witness for Nautilus Hyosung, Inc., in “Certain Automated Teller
         Machines, ATM Products, Components Thereof, and Products Containing
         the Same,” ITC Investigation No. 337-TA-972 (deposition and hearing
         testimony).

         Expert witness for Toshiba., in “Intellectual Ventures, et al. v. Toshiba
         Corporation, et al,” Case No. 13-453-SLR-SRF in the District of Delaware
         (deposition testimony and trial testimony).

         Expert witness for Samsung Electronics Co. LTD. and Microsoft Corpora-
         tion in “Microsoft Corporation, et al. v. FastVDO LLC.” Case IPR2016-
         01179 before the Patent Trial and Appeal Board (deposition testimony).

         Expert witness for Samsung., in “Image Processing Technologies, LLC v.
         Samsung Electronics Co., LTD, et. al” Case No. 2:16-CV-0505-JRG in the
         Eastern District of Texas (deposition testimony).

         Expert witness for Harmonic, Inc., in “Avid Technology, Inc. v. Harmonic,
         Inc.,” Case No. 17-682-GMS in the District of Delaware (deposition testi-
         mony).

         Expert witness for IPDEV Co., in “IPDEV Co. v. Ameranth, Inc.,”
         Case No. 3:14-cv-01303-DMS-WVG in the Southern District of California
         (deposition testimony).

         Expert witness for Funai, MediaTek, MStar, Vizio, LG and Sigma., in
         “Certain Semiconductor Devices and Consumer Audiovisual Products


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         Containing the Same,” ITC Investigation No. 337-TA-1047 (deposition and
         trial).

         Expert witness for Align Technology, Inc., in “Certain Intraoral Scanners
         and Related Hardware and Software,” ITC Investigation No. 337-TA-1090
         (Markman hearing technology tutorial, deposition and hearing testimony).

         Expert witness for Apple Inc., in “Qualcomm Inc., v. Apple Inc,” Case No.
         3:17-cv-00108-GPC-MDD and 3:17-cv-00110-GPC-MDD in the Southern
         District of California (deposition).

         Expert witness for ZiiLabs Inc. Ltd., in “Certain Graphics Processors
         and Products Containing the Same,” ITC Investigation No. 337-TA-1099
         (Markman Hearing Technology Tutorial and deposition).

         Expert witness for LG Electronics, Inc., in “Mondis Technology LTD. v.
         LG Electronics, Inc., et al.,” Case No. 15-cv-4431 (SRC)(CLW) in the
         District of New Jersey (deposition and trial).

         Expert witness for Apple Inc., in “Qualcomm Inc., v. Apple Inc,” Case No.
         3:17-CV-1375-DMS-MDDD in the Southern District of California (depo-
         sition).

         Expert witness for Baxter Corporation Englewood in “Becton, Dickinson
         and Company v. Baxter Corporation Englewood,” Cases IPR2019-00120
         and IPR2019-00121 before the Patent Trial and Appeal Board (deposition
         testimony).

         Expert witness for Eagle View Technologies, Inc., in “Eagle View Tech-
         nologies, Inc. et al. v. Xactware Solutions, Inc., et al.,” Case No. 1:15-cv-
         07025-RBK-JS in the District of New Jersey (deposition and trial).

         Expert witness for Align Technology, Inc., in “Certain Dental and Or-
         thodontic Scanners and Software,” ITC Investigation No. 337-TA-1144
         (deposition and hearing testimony).



          November 26, 2019


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